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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
______________________________________
                                       )
HERITAGE FOUNDATION and                )
MIKE HOWELL,                           )
                                       )
      Plaintiffs,                      )
                                       )
      v.                               )      Civ. A. No. 22-1770 (CJN)
                                       )
DEPARTMENT OF HOMELAND                 )
SECURITY,                              )
                                       )
      Defendant.                       )
______________________________________ )

                                    JOINT STATUS REPORT

       Pursuant to the Court’s September 29, 2022, Minute Order, Plaintiffs and Defendant,

Department of Homeland Security (“DHS”), by and through undersigned counsel, hereby

provide the following joint status report.

       1.        This action under the Freedom of Information Act (“FOIA”) was filed by

Plaintiffs on June 21, 2022. ECF No. 1. Plaintiffs generally seek records concerning the

investigation of the interaction of Department personnel with migrants on September 19, 2021 at

the U.S.-Mexico border at Del Rio, TX.

       2.        DHS and its component agency, Customs and Border Protection (“CBP”), report

as follows:

              a. DHS: After reviewing 418 pages of 806 potentially responsive documents, on

                 October 4, 2021, DHS-HQ released 89 pages in full, released 21 in part, and

                 withheld 5 pages in full pursuant to FOIA exemption(s). 265 pages were

                 duplicative or non-responsive and the remaining pages referred to other agencies.

                 DHS is discussing search terms with Plaintiff.
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               b. CBP: CBP conducted an initial search that retrieved approximately 520 pages of

                  potentially responsive records plus 29 potentially responsive videos. CBP

                  produced releasable documents to Plaintiff on September 12, 2022. CBP is

                  further evaluating the videos. CBP conducted a second search but has not

                  released additional records due to ongoing discussions with Plaintiff regarding

                  search terms.

         3.       Depending on the conclusion of the parties’ discussions regarding search terms,

the parties may or may not have a disagreement regarding the appropriate processing rate.

Should a dispute arise over the appropriate processing rate arise, the parties will inform the

Court.

         4.       Pursuant to the Court’s Minute Order of September 29, 2022, the Parties will file

an additional JSR no later than December 19, 2022.



Dated: October 18, 2022                         Respectfully submitted,

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                                                United States Attorney

                                                BRIAN P. HUDAK
                                                Chief, Civil Division

                                        By:     /s/ Sean M. Tepe
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